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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MINNESOTA



 FEEDING OUR FUTURE,                   )
                                       )
            Plaintiff,                 )
                                       )
 v.                                    )   Civil Action No.: _______________
                                       )
 MINNESOTA DEPARTMENT OF               )
 EDUCATION                             )
                                       )
            Defendant.                 )


______________________________________________________________________________

                       COMPLAINT AND JURY DEMAND
______________________________________________________________________________

       1.         Thousands of qualified children in low-income and minority communities

are going without desperately needed federal food programs because MDE refuses to

process Feeding Our Future’s applications. Feeding Our Future is one of the largest

independent sponsors of federal food programs in Minnesota. It currently has over 50

applications pending to bring millions of dollars in federal funds to feed thousands of

Minnesota’s most vulnerable children. Despite federal regulations requiring MDE to

process applications within 30 days, MDE has let many of Feeding Our Future’s

applications languish in just the first step of the application process for over 60 days and

counting.

       2.         Feeding Our Future brings this action to compel MDE to comply with the

federal law and process its applications so it can help feed low-income and minority
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children that have been disproportionately impacted by a global pandemic and widespread

social unrest.

                                       THE PARTIES

        3.       Feeding Our Future is a non-profit organization based in Minneapolis. It is

dedicated to making federally funded food programs accessible to low-income and

minority communities in Minnesota.

        4.       The Department of Education is a state agency responsible for administering

the federal food programs in Minnesota.

                               JURISDICTION AND VENUE

        5.       This Court also has jurisdiction over this matter under 28 U.S.C. § 1332

because it arises under federal. The federal food programs at issue are governed by federal

law. There are no Minnesota state laws or regulations applicable to the administration of

the federal food programs.

        6.       Venue is appropriate under 28 U.S.C. § 1391(b)(1) and (2) because MDE

resides in this district and the entirety of the events occurred here.

                                GENERAL ALLEGATIONS

   I.   The USDA’s Food Service Programs

        7.       In 1968 the Legislature adopted the National School Lunch Act to provide

“nutritious foods that contribute to the wellness, healthy growth, and development of young

children, and the health and wellness of older adults and chronically impaired persons.” 7

C.F.R. § 226.1




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       8.      There are two major components to the USDA’s food service programs, the

Child and Adult Care Food Program (“CACFP”) and the Summer Food Service Program

(“SFSP”). Those two programs work in tandem to ensure low-income children are

provided free, nutritious meals year-round. CACFP provides meals after school, and SFSP

provides meals when schools are not in session.

       9.      Both programs function in effectively the same way.          A non-profit

organization applies to the state agency to become an approved sponsor. Once approved,

the sponsor enters a contract with the state agency to provide CACFP or SFSP services.

The sponsors run the programs and ensure compliance with all federal regulations. The

sponsors work with low-income communities to identify sites where children can receive

free meals in a safe and supervised environment such as schools, parks, community centers,

clinics, apartment complexes, or other community gathering places.

       10.     Both programs are entirely funded by the USDA and administered by state

agencies. In Minnesota, the programs are run by the Department of Education. The

Minnesota Legislature has not adopted any laws governing CACFP or SFSP and MDE has

not promulgated any rules. The only applicable requirements are in the federal law and

regulations.

   II. Feeding Our Future

       11.     Feeding Our Future is a non-profit organization that was formed in

November 2016 to help low-income and minority communities that have been traditionally

underrepresented participate in CACFP and SFSP funding.




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        12.   Feeding Our Future applied to MDE and was approved to be a sponsor of

CACFP and SFSP programs.

        13.   On July 2018, Feeding Our Future and MDE executed a contract whereby

Feeding Our Future agreed to provide CACFP and SFSP services, and MDE agreed to

comply with all federal regulations and provide applicable funds and commodities to help

it serve low-income communities.

        14.   Feeding Our Future is the largest independent CACFP and SFSP sponsor in

Minnesota. It provides federally funded meals to nearly 20,000 children a day and brings

in millions of dollars of federal funds every month to the State.

        15.   Feeding Our Future has 15 full-time staff and 45 part-time staff. Its full-time

staff members are deeply rooted and connected to the communities they serve and

collectively speak 10 languages.

        16.   The communities Feeding Our Future serves were hit hard by COVID-19

and social unrest resulting from the death of George Floyd. As a result, most schools,

restaurants, childcare providers, and religious organizations suddenly and indefinitely

closed, turning what MDE described as a “nutrition gap” into an “urban food desert.”

   III. The Impacts of the Pandemic and Social Protests.

        17.   Minneapolis has long had a pronounced disparity in nutritional foods

available to children in low-income and minority communities. MDE has described the

issue as a “nutrition gap” and MDE Commissioner Ricker has noted: “Nutrition is one key

to academic success.”




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        18.   According to MDE, over 80% of eligible children in low-income and

minority communities do not have access to SFSP food services. To help combat the issue,

on February 1, 2020, MDE issued a press release encouraging more organizations to

become sponsors of SFSP and CFCP programs. MDE explained: “There are many low-

income areas in Minnesota underserved and in need of a sponsor to operate a summer

feeding site, especially in Greater Minneapolis.”1

        19.   In March 2020, the disparity grew greater as low-income and minority

communities were hit particularly hard by the global COVID-19 pandemic. In response to

the pandemic, schools, community centers, religious organizations, and neighborhood

centers were forced to close. The impacts of the pandemic were devastating and universal

but were particularly pronounced in low-income and minority communities.               Food

shortages become food crises for the most vulnerable in the community.

        20.   In May 2020, the streets of Minnesota erupted in protest in reaction to the

death of George Floyd.      Businesses, grocery stores, and restaurants in low-income

communities were looted, burned, and destroyed.

        21.   As one person who works for the Lake Street Council put it: “Our largest

grocery stores are also gone. Right now, our community, we live in a food desert, which




1
    https://m.austindailyherald.com/2020/02/minnesota-department-of-education-seeks-sponsors-
for-summer-food-service-program/



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happened overnight.”2      Similar comments and concerns were echoed by numerous

community leaders.3

        22.   The impacts of the pandemic and social protests and their disproportionate

effect on minority communities cannot be overstated.

        23.   In response to the exceptional circumstances of the public health emergency,

the Legislature passed the Families First Coronavirus Response Act (“FFCRA”). Under

that authority, the USDA established nationwide waivers of federal regulatory

requirements to increase participation in CACFP and SFSP.

        24.   For example, the USDA extended the summer program through June 2021;

it allowed meals to be reimbursed before applications were approved; it reduced

requirements for the locations of distribution sites; it allowed meals to be taken home by

parents instead of eaten on site by the children; it no longer required sites to provide

enrichment activities; and a host of others.

        25.   The Legislature and USDA have been clear that the priority is increasing

desperately need access to food through CACFP and SFSP.




2
  Marketplace, June 4, 2020, available at
https://www.marketplace.org/2020/06/04/neighborhoods-where-stores-were-destroyed-become-
food-deserts-overnight/
3
  See The Circle, July 6, 2020, available at http://thecirclenews.org/cover-story/covid-protests-
bring-food-shortages-and-community-support/;



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    IV. MDE Refuses to Allow Feeding Our Future to Apply for Additional Sites.

       26.    MDE has consistently refused to allow Feeding Our Future to submit

applications to open new distribution sites. Since September 8, 2020, Feeding Our Future

has submitted 51 applications to open new distribution centers in low-income and minority

communities. Without explanation, MDE has refused to take even the first step on 41 of

its applications and refused to process another 10.

       27.    Under federal law, “MDE is charged by the regulations to establish an

application process and approve or disapprove applications based upon the standards

articulated in the federal regulations.” In re Partners in Nutrition, 896 N.W.2d 564, 571

(Minn. App. 2017).

       28.    The federal regulations require MDE to process applications and inform the

applicant of its decision in writing within 30 days. 7 C.F.R. 226(b)(3).

       29.    On May 27, 2020, MDE reported to the USDA that it was experiencing a

high demand of applicants to participate in SFSP and requested that the mandatory 30-day

deadline to respond to applications be extended to 45 days.

       30.    On June 23, 2020, the USDA responded that it would allow MDE 45 days to

respond to SFSP applications it received by July 31, 2020. MDE did not request, and was

not given, an extension of the 30-day deadline for CACFP applications.4




4
 It is not clear what authority USDA relied on to extend the federal regulatory requirement.
Regardless, the waiver ended on July 31, 2020, and has no application here.


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        31.   USDA’s extension of the 30-day deadline has long expired and is not

applicable to any of Feeding Our Future’s pending applications.

        32.   In an attempt to circumvent the rules, MDE has created a two-step

application process. First, before MDE allows a sponsor to submit an application for a new

distribution site, it requires the sponsor to apply for a “site ID.” Without a site ID, sponsors

cannot access MDE’s electronic platform to submit an application. An application for a

site ID must include substantial information, including a site ID request form; a signed

agreement between the sponsor and the site; a completed check list showing that the site is

ready to operate; staff training records; and an area eligibility map, among others. Once

MDE issues a site ID, it then allows the sponsor to move to step two and submit the actual

application to participate in the food program.

        33.   The Minnesota Court of Appeals has already chastised MDE for creating a

two-step application process in violation of federal regulations. See, In re Partners in

Nutrition, 896 N.W.2d 564, 571 (Minn. App. 2017) (noting that nothing in the federal

regulations allow MDE to create a multi-step application process or impose requirements

not based on federal regulations).

        34.   Since September 8, 2020, Feeding Our Future has submitted over 50

applications for new CACFP and SFSP distribution sites. MDE has kept 41 applications

in step one for up to 64 days and counting.

        35.   The chart below shows the applications Feeding Our Future has submitted

for site IDs without response from MDE.




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                                                             Number of Days
                                              Date Site ID
                   Site Name                                  Pending as of
                                               Requested
                                                                11.11.20
 1   K’ Dollar Grocery                           9.8.20         64 Days
 2   Sister’s Grill                              9.8.20         64 Days
 3   ASA Limited                                 9.8.20         64 Days
 4   Brava Restaurant                            9.8.20         64 Days
 5   Baraka Allah                               9.14.20         58 Days
 6   Bright Horizons                            9.14.20         58 Days
 7   M5 Café                                    9.14.20         58 Days
 8   Wacan Restaurant                           9.15.20         57 Days
 9   Olive Management                           9.16.20         56 Days
10   Muna Halal                                 9.16.20         56 Days
11   Brava Café                                 9.16.20         56 Days
12   Lake Street Kitchen                        9.17.20         55 Days
13   Tabuuk Catering                            9.17.20         55 Days
14   Great Lakes                                9.25.20         48 Days
15   Los Ranchos Mercado                        9.25.20         48 Days
16   Gold Finger                                9.25.20         48 Days
17   Barwago Restaurant                         9.30.20         42 Days
18   Multiple Community Services                10.6.20         36 Days
19   Shamsia Hope                              10.12.20         30 Days
20   Haji’s Kitchen                            10.13.20         29 Days
21   Dakota Station                            10.13.20         29 Days
22   Southcross                                10.13.20         29 Days
23   Bukhari Center                            10.16.20         26 Days
24   Al-Israa Academy                          10.16.20         26 Days
25   Khalid Binv Walid                         10.16.20         26 Days
26   Iqra Center                               10.16.20         26 Days
27   Omar Binu Khidaab                         10.16.20         26 Days
28   Nurul Huda Islamic Center                 10.16.20         26 Days
29   Nurul Iman Institute                      10.16.20         26 Days
30   Karmel Learning Center                    10.16.20         26 Days
31   Mercy Center                              10.16.20         26 Days
32   Midwest Youth & Cultural Network          10.16.20         26 Days
33   Tawhid Islamic Center                     10.16.20         26 Days
34   Salaama Education and Community Center    10.16.20         26 Days
35   Stigma Free – Mankato                     10.19.20         23 Days
36   Stigma Free – Willmar                     10.19.20         23 Days
37   Confederation of Somali in Minnesota      10.22.20         20 Days
38   Al Hikma                                  10.22.20         20 Days
39   Iman Cultural Center                      10.22.20         20 Days
40   Rahman Center                             10.22.20         20 Days
41   Hilltop                                   10.22.20         20 Days



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        36.    MDE has no right to require Feeding Our Future, or any other sponsor, to

request a site ID before allowing it to submit an application. MDE’s application process

creates additional hurdles, delays, and burdens to sponsors that are not allowed under

federal law.

        37.    In addition to the 41 sites above, MDE has allowed Feeding Our Future to

submit applications for 10 sites without as part of step 2 of its application process on

another 10 sites:

                                             Date Site ID       Step 2        Total
       Site Name
                                              Requested       Submitted      Duration
  42   Bright Horizon Therapy                  9.28.20          11.4.20      44 Days
  43   Twin Lakes Center                       10.6.20          11.4.20      36 Days
  44   All Star Academy                        10.6.20         11.11.20      36 Days
  45   Hope Center                             10.6.20          11.4.20      36 Days
  46   Nawal Restaurant                        4.28.20          10.9.20      33 Days
  47   Somali American Community              10.12.20         11.11.20      30 Days
  48   Action For East African community      10.13.20          11.9.20      29 Days
  49   Ibn Nabawi                             10.16.20         11.10.20      26 Days
  50   Darul Quba Center                      10.16.20         11.10.20      26 Days
  51   UCYEC Enrichment Center                10.16.20          11.9.20      26 Days

        38.    In total, Feeding Our Future has 25 applications that have been pending for

over 30 days without response from MDE.

        39.    Each distribution site represents tens-of-thousands of meals to hundreds of

needy children who continue to go without healthy and nutritious meals during a global

pandemic.

        40.    MDE’s delays are particularly hard to understand in the cases of Bukhari

Center, Al-Israa Academy, Khalid BIny Walid, Igra Center, Omar Binu Khidaab, Nurual

Huda Islamic Center, Nurual Iman Institute, Karmel Learning Center, UCYEC Center, Ibn



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Nabawi, Darul Quba Center, and Hope Center. Those 12 distribution sites were previously

approved to work with a different sponsor. MDE has already reviewed and approved their

participation. The sponsor they were working with, however, closed and asked Feeding

Our Future to absorb its locations. Their approval should take minutes, not weeks and in

no circumstances longer than the federally mandated review period.

   V. MDE Unilaterally Terminated Some Distribution Sites

       41.   Between April 13 and April 23, 2020, Feeding Our Future contacted MDE

to submit applications for 8 different locations to participate as distribution sites in

CACFP’s afterschool program: Afro Deli, Evergreen Grocery and Deli, Safari Restaurant,

Nawal Restaurant, Minnesota Coffee, Sambusa King, Shafi’i Tutoring and Homework

Help, and Sombosa Restaurant.

       42.   Each of the sites is an upstanding business with deep connections to the

community. For example, Abdirahman Kahin, the owner of Afro Deli, was invited by

President Obama to attend his final State of the Union address. In his speech, President

Obama commended Mr. Kahin for his dedication to the community, creation of jobs, and

contribution to the economy.

       43.   MDE initially refused to provide Feeding Our Future site IDs to submit

applications for any of these sites. MDE offered no explanation of any kind about why it

was refusing to allow Feeding Our Future to apply for these sites to be added.

       44.   After exhaustive discussions with MDE, April 28, 2020, Feeding Our Future

sent MDE a draft complaint and litigation hold. Feeding Our Future advised MDE that if

the sites were still not approved by April 30, it would file the action. On April 29 th at


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5:31pm MDE relented and represented that all 8 sites would be given site IDs and their

applications would be approved without delay.

           45.   MDE declined to provide any explanation of why it initially refused to allow

Feeding Our Future to apply for those distribution sites, or why it changed its mind so

completely.

           46.   Soon after, Feeding Our Future also submitted applications to open

distribution sites at Dur Dur Restaurant; Lido Restaurant; and S&S Catering. Those

applicants, along with the 8 listed above, were all accepted and approved through

December 31, 2020.

           47.   On or around October 15, 2020, without discussing it with Feeding Our

Future, MDE unilaterally changed the applications for five of those sites to end their

participation on October 31, 2020. MDE did not issue any formal decision or explain its

actions.

           48.   MDE unilaterally terminated the participation of: Dur Dur Restaurant; Lido

Restaurant; S&S Catering; Safari Restaurant; and Evergreen Grocery and Deli.

Collectively, those locations provided over 750,000 meals and snacks in October alone.

           49.   MDE has provided no explanation for its decision and has not allowed

Feeding Our Future to pursue any appeal or reconsideration.

                                     COUNT I
                              DECLARATORY JUDGMENT

           50.   Feeding Our Future incorporates by reference all previously pled paragraphs

as if fully stated herein.



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           51.   A number of disputes exist between the parties:

             a. Whether MDE can continue to enforce a preapplication process that requires

                 sponsors to submit a request for a “site ID” before being allowed to submit

                 an application for a new CACFP or SFSP distribution site;

             b. Whether MDE must comply with 7 C.F.R. 226(b)(3) by responding to

                 applications in writing within 30 days;

             c. Whether MDE is required to accept applications for the sites identified above

                 that are waiting to receive site IDs; and

             d. Whether the sites Feeding Our Future has submitted requests for site IDs or

                 formal applications qualify as sites under CACFP and SFSP.

       52.       A determination of these issues will terminate the controversy between the

parties.

       53.       Feeding Our Future has a practical interest in the resolution of these disputes

and it will affect its ability to fulfill its mission of providing heathy and nutritious meals to

need children in low-income communities that have been disproportionately impacted by

the global pandemic and social unrest.

       WHEREFORE, Feeding Our Future seeks a declaratory judgment that MDE does

not have the right to enforce a preapplication process; that MDE must comply with 7 C.F.R

226(b)(3) and all other federal regulations; that MDE is required to accept the applications

for all sites awaiting site IDs; and that MDE must approve all site applications currently

pending. Feeding Our Future is also seeking all costs, fees, and damages associated with

MDE’s wrongful refusal to allow sites to apply for CACFP and SFSP participation.


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                                      COUNT II
                                 INJUNCTIVE RELIEF

        54.    Feeding Our Future incorporates by reference all previously pled paragraphs

as if fully stated herein.

        55.    MDE has precluded Feeding Our Future from any administrative remedies

by refusing to take any action on the pending applications.

        56.    Feeding Our Future has no adequate alternative remedies available under the

law.

        57.    Feeding Our Future has been and continues to be irreparably harmed by

MDE’s refusal to accept and process applications. Every day that goes by hundreds of the

state’s most vulnerable children are going without much needed meals and food during a

global pandemic.

        58.    Feeding Our Future asks for an immediate injunction requiring MDE to

dispose of its preapplication process; immediately accept all pending applications; and

approve all pending applications.

       WHEREFORE, Feeding Our Future is seeking injunctive relief precluding MDE

from continuing to enforce its preapplication process; requiring MDE to comply with all

federal requirements; and requiring MDE to approve the applications for each pending site.

Feeding Our Future is also seeking all costs, fees, and damages associated with this action.




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                                     COUNT III
                                 WRIT OF MANDAMUS

        59.    Feeding Our Future incorporates by reference all previously pled paragraphs

as if fully stated herein.

        60.    MDE has a clear duty imposed by law to accept and process applications for

distribution sites for the CACFP and SFSP programs. Despite this requirement, MDE is

refusing to accept applications; it is imposing a preapplication process; and depriving

Feeding Our Future the right to distribute food to children in need.

        61.    MDE has unjustifiably refused to accept or process the applications of dozens

of distribution sites, all of which qualify under the CACFP and SFSP programs.

        62.    Feeding Our Future has been, and continues to be, harmed by MDE’s

decision not to accept or process applications for additional distribution sites.

       WHEREFORE, Feeding Our Future requests that the Court enter a Writ requiring

MDE to end its preapplication process; accept all pending applications; and grant all

pending applications from Feeding Our Future. Feeding Our Future is also seeking all

costs, fees, and damages associated with MDE’s refusal to enter a final order.

                                        COUNT IV
                                   BREACH OF CONTRACT

       63.     Feeding Our Future incorporates by reference all previously pled paragraphs

as if fully stated herein.

       64.     On July 27, 2018, and again on June 30, 2020, MDE and Feeding Our Future

executed a contract for Feeding Our Future to provide CACFP and SFSP services to low-

income and minority communities.


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       65.     Under the explicit terms of the agreement, MDE promised to “provide

appliable funds and commodities in accordance with federal statutes and program

regulations cited in this agreement and additional program directives and guidance issued

by MDE and USDA.”

       66.     MDE breached that contract by failing to accept Feeding Our Future’s

applications for additional distribution sites; unilaterally terminating distribution sites; and

creating additional and unnecessary hurdles for Feeding Our Future’s administration of

CACFP and SFSP by creating a two-step application process.

       67.     MDE’s breach of contract caused Feeding Our Future substantial and

ongoing damages. MDE’s refusal to process distribution sites and unilateral termination

of other sites has caused Feeding Our Future to lose millions of dollars in federal funding,

damaged its reputation in the community, and has prevented Feeding Our Future from

working with additional sites.

       WHEREFORE, Feeding Our Future is seeking: (i) a jury verdict that MDE breached

its contract with Feeding Our Future; (ii) all associated damages, including lost federal

funding, lost productivity, lost business opportunities, and damages to its reputation in the

community; and (iii) the legal costs, fees, and damages associated with MDE’s breach

                                COUNT V
                 TORTIOUS INTERFERENCE WITH CONTRACTS

       68.     Feeding Our Future incorporates by reference all previously pled paragraphs

as if fully stated herein.




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       69.    Feeding Our Future has contracts with the distribution sites and catering

companies to provide food to in low-income communities.

       70.     MDE is aware of Feeding Our Future’s contractual relationships with third

parties and requires them as part of the first step of the application process.

       71.    MDE intentionally interfered with those contractual relationships to deprive

Feeding Our Future of the benefits of those contracts.

       WHEREFORE, Feeding Our Future is seeking: (i) a jury verdict that MDE

tortuously interfered with its contracts; (ii) the revenue it lost from those contracts and

damages it suffered; and (iii) the costs, fees, and damages associated with MDE’s actions.

                                     COUNT VI
                            MINNESOTA HUMAN RIGHTS ACT

       72.    Feeding Our Future incorporates by reference all other paragraphs in this

Complaint as if fully stated herein.

       73.    Feeding Our Future caters to members of a protected group of racial

minorities and foreign nationals.

       74.    Feeding Our Future sought and qualifies for funding through CACFP and

SFSP that was made available to all qualified members of the public.

       75.    MDE denied Feeding Our Future the right to apply for additional distribution

sites despite qualifying.

       76.    MDE denied Feeding Our Future and their sites CACFP and SFSP funding

based on their race, national origin, color, and religion.




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       77.    MDE continues to give CACFP and SFSP funding to other businesses no

more qualified than Feeding Our Future.

       78.    MDE intentionally and wrongfully refuses to do business with Feeding Our

Future and the community it serves by discriminating in the basic terms, conditions, and

performance of its duties because of Feeding Our Future’s race, national origin, color, and

religion.

       79.    As a result of MDE’s discriminatory practices, Feeding Our Future has

suffered and continues to suffer substantial damages.

       WHEREFORE, Feeding Our Future is seeking its lost revenue, all related damages,

costs, and attorneys’ fees, and the imposition of a civil penalty.

                             COUNT VII
               PROCEDURAL AND SUBSTANTIVE DUE PROCESS

       80.    Feeding Our Future incorporates by reference all other paragraphs in this

Complaint as if fully stated herein.

       81.    Feeding Our Future exclusively services members of a protected class of

minorities based on race, religion, and national origin.

       82.    MDE knew that Feeding Our Future exclusively services members of a

protected class.

       83.    MDE intentionally harmed Feeding Our Future by subjecting it to additional

procedural hurdles in violation of federal regulations.




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       84.    MDE treated other organizations that serve different communities differently

by accepting and processing their applications; not creating additional hurdles; and by

approving qualified distribution centers.

       WHEREFORE, Feeding Our Future is seeking its lost revenue, all related damages,

costs, and attorneys’ fees.

                                    COUNT VIII
                              EQUAL ACCESS TO JUSTICE

       85.    Feeding Our Future incorporates by reference all other paragraphs in this

Complaint as if fully stated herein.

       86.    MDE’s decisions and actions are clearly in violation of federal law and the

Minnesota Court of Appeals’ ruling in In re Partners in Nutrition, 896 N.W.2d 564, 571

(Minn. App. 2017).

       87.    Feeding Our Future is entitled to all its fees and costs under the Equal Access

to Justice Act, Minn. Stat. § 15.471.

       WHEREFORE, Feeding Our Future is seeking its lost revenue, all related damages,

costs, and attorneys’ fees.




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                                  JURY DEMAND

     Feeding Our Future hereby request a jury on all issues so triable.


Dated: November 11, 2020                  MARTIN HILD, PA

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